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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 16-CV-21874-KMM


  CUTHBERT HAREWOOD,

                 Plaintiff,
  v.

  MIAMI-DADE COUNTY, a political
  subdivision of the State of Florida and
  JOHN ALEXANDER, a resident of
  the State of Florida,

              Defendants.
  ______________________________/

               PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE EVIDENCE

         Plaintiff, Cuthbert Harewood (“Mr. Harewood”), moves for an Order of this Court

  excluding the following evidence pursuant to the Federal Rules of Evidence (FRE) in order to

  promote the orderly and efficient process of trial and to avoid having to make the objection in the

  presence of the jury:

                  MOTION IN LIMINE NO. 1: EXCLUDE ANY REFERENCE
                    BY ANY WITNESS THAT THE DEFENDANT HAD
                    PROBABLE CAUSE TO SEIZE MR. HAREWOOD

         No expert, or any other lay witness, is permitted to testify that the Defendant had probable

  cause to seize Mr. Harewood. Such testimony would intrude upon the jury’s function to decide

  one of the ultimate issues in this case and would impermissibly express a legal conclusion. See

  Whitmill v. City of Philadelphia, 29 F. Supp. 2d 241, 246 (E.D. Pa. 1998) (Hart, M.J.)(police expert

  was not permitted to offer an opinion on the legality of the plaintiff’s seizure because the issue

  “was a matter for the jury to decide after proper instruction from the court” and the expert testimony

  “would have usurped the role of the court and the jury”).
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                 MOTION IN LIMINE NO. 2: EXCLUDE ANY REFERENCE
                 BY ANY WITNESS THAT THE AMOUNT OF FORCE USED
                     BY THE DEFENDANT WAS REASONABLE AND
                     WARRANTED UNDER THE CIRCUMSTANCES

         No expert, or any other lay witness, is permitted to offer an opinion as to whether the force

  used by an officer was reasonable and warranted under the circumstances. Again, such testimony

  would intrude upon the jury’s function to decide one of the ultimate issues in this case and would

  impermissibly express a legal conclusion. See Whitmill v. City of Philadelphia, 29 F. Supp. 2d

  241, 246 (E.D. Pa. 1998) (Hart, M.J.)

                MOTION IN LIMINE NO. 3: PRECLUDE THE DEFENDANT’S
                EXPERT, DR. GARY VILKE, FROM OPINING ON MATTERS
                        OUTSIDE OF HIS AREA OF EXPERTISE

         Mr. Harewood does not dispute that Dr. Gary Vilke has the relevant experience to testify

  about the effects of tasers on the human body. Nevertheless, Dr. Vilke has expressed several

  expert opinions in his report which are either totally outside his area of expertise or amounts to an

  improper comment on a witness’s credibility. Specifically, Dr. Vilke makes the following

  improper claims:

         a. Just because the TASER ECD download recorded a trigger pull, does not mean

             that the TASER ECD was indeed in contact with the subject and delivering the

             electrical stimulus. (Dr. Vilke is not an expert on how tasers function)

         b. I am not convince that there is a true complete lack of an ability to get an

             erection as Mr. Harewood reports occurring for the last three and a half years.

             (improper comment on credibility)

         c. If there is a psychological component to Mr. Harewood’s erectile dysfunction,

             it would be most likely related to the life threatening traumatic event of being

             shot four times. (Dr. Vilke is not a psychiatrist or psychologist)

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        d. Much of his psychological issues, including depression, stress, anxiety,

           drinking, and other issues appear to have started or accelerated after this life-

           threatening event in January, 2014. And as Ms. Morin noted in her record, sex

           is not only physical - mental and emotional feelings play a role. (Dr. Vilke is

           not a psychiatrist or psychologist)

        e. Mr. Harewood’s Incontinence of urine in public is a very dramatic and typically

           memorable event because of its embarrassing nature. However, I find it

           remarkable that his wife cannot recall more than one of these publicly occurring

           events. (improper comment on credibility)

        f. Though I do believe that Mr. Harewood likely had an episode of incontinence

           at the time of his arrest, TASER ECD activation, and going to jail, the lack of

           clarity about the frequency, volume, locations, and details of his urinary

           incontinence is suspicious for fabrication or exaggeration. (improper comment

           on credibility; Dr. Vilke is not a urologist)

        g. In addition, his medical records do not reflect any ongoing evaluations or therapies

           regarding this issue that he claims is chronic and humiliating, supporting my

           suspicion that he probably does not have significant urinary incontinence at all.

           (improper comment on credibility; Dr. Vilke is not a urologist)

        h. If Mr. Harewood does in fact have some occasional incontinence as he reports,

           it is more likely to be because of the trauma and associated stress of being shot

           and having a life-threatening event occur. His urinary incontinence at the time

           of his arrest implies that he can have urinary incontinence in a stressful

           situation. (Dr. Vilke is not a psychiatrist, psychologist, or urologist)



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         i. The fact that Mr. Harewood had a near death experience and ongoing

             psychological issues following it, and reports intermittent incontinence since

             then is more likely to be from the gunshot event and the stress and ongoing

             anxiety related to nearly dying, rather than to a single TASER ECD event

             occurring much earlier. (Dr. Vilke is not a psychiatrist, psychologist, or

             urologist)

         First and foremost, Dr. Vilke’s testimony about a witness’s credibility is clearly

  impermissible under Fed. R. Evid. 702. “Evaluation of witness credibility is the exclusive function

  of the jury.” Bhaya v. Westinghouse Elec. Corp., 832 F.2d 258, 262 (3d Cir. 1987) (citing Carter

  v. Duncan-Huggins, Ltd., 727 F.2d 1225, 1234 (D.C. Cir. 1984)). Additionally, Dr. Vilke is neither

  a psychiatrist, psychologist, nor urologist. Therefore, it is wholly inappropriate for Dr. Vilke to

  offer his opinion on these topic, which are clearly outside his area of expertise.

                 MOTION IN LIMINE NO. 4: PRECLUDE THE DEFENDANT
                      FROM REFERRING TO HIS WITNESSES AS
                          EXPERTS IN FRONT OF THE JURY
         Mr. Harewood respectfully requests an order precluding Defense counsel or any witnesses

  from referring to anyone as an “expert.” Although the FRE refer to witnesses with specialized

  knowledge as “experts,” it does not follow that the jury should be told that the witness is an

  “expert” or had been deemed an “expert” by the court. The Advisory Committee Notes to FRE

  702 endorse the “practice that prohibits the use of the term ‘expert’ by both the parties and the

  court at trial,” on the ground that referring to or qualifying the witness as an “expert” before the

  jury put an imprimatur of the court on the witness.




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                   MOTION IN LIMINE NO. 5: EXCLUDE THE DEFENDANT
                        MUGSHOT FROM BEING INTRODUCED

          Mr. Harewood respectfully request an order excluding the use of his “mug shot” at the
  time of trial.    The Defendants may attempt to use Mr. Harewood’s “mug shot” to portray him
  in a negative light or to call undue attention to the fact that he was arrested on July 20, 2013.
  This purpose is irrelevant and prejudicial. U.S. v. Fosher, 568 F.2d 207, 213-17 (1st Cir.
  1978)(trial judge should not have admitted mug shots in a manner that clearly let the jury know
  that they were mug shots).
                   MOTION IN LIMINE NO. 6: PRECLUDE THE DEFENDANT
                    FROM REFERRING TO MR. HAREWOOD’S MEDICAL
                    RECORDS THAT ARE IRRELEVANT TO HIS INJURIES
                       SUFFERED AS A RESULT OF THIS INCIDENT

         The Defendant will likely attempt to improperly focus Mr. Harewood’s gunshot wound

  that he suffered on January 28, 2014. However, Rule 401 states that evidence is relevant if: (a) it

  has any tendency to make a fact more or less probable than it would be without the evidence; and

  (b) the fact is of consequence in determining the action. Sprint/United Mgmt. Co. v. Medelsohn,

  552 U.S. 379, 388 (2008). Rule 402 specifically prohibits irrelevant evidence. Here, the only

  relevant medical records are those which directly relate Mr. Harewood’s damages claim against

  Officer Alexander for using excessive force. The fact the Mr. Harewood was shot on January 28,

  2014, is irrelevant and unduly prejudicial.

                   MOTION IN LIMINE NO. 7: PRECLUDE THE DEFENDANT
                   FROM INFORMING THE JURY THAT MS. COLEMAN SAID
                      THAT SHE HAD GIVEN A RIDE TO A PROSTITUTE

         Mr. Harewood refers to Ms. Coleman as his common-law wife. Both Mr. Harewood and

  Ms. Coleman are beacons of hope in Liberty City to people from all walks of life. Ms. Coleman

  claimed in her deposition that she had given a ride to a prostitute before the Defendant pulled her

  over for not having a license plate on her vehicle. There is no suggestion whatsoever that the


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  Defendant every saw this person, noticed that she was a prostitute, saw her inside of Ms. Coleman’s

  vehicle, or saw her engage in illegal behavior. The Defendant seeks to elicit this testimony to

  assassinate the character of the Defendant’s common law wife. Such evidence should be excluded

  because the probative value of such testimony is clearly outweighed by the prejudicial effect.

         Based on the foregoing, Plaintiff, Cuthbert Harewood, respectfully requests that this Court

  exclude the aforementioned evidence for the reasons stated above.

         Dated: January 13, 2017.

                                                   Respectfully Submitted,


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                                                   Counsel for the Plaintiff, Cuthbert Harewood


                                                   By: /s/ Hilton Napoleon, II
                                                           Hilton Napoleon, II




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                          CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Rule 7.1(a)(3) of the Local Rules of the Southern District of Florida,

  undersigned counsel certifies that he has conferred with opposing counsel via telephone and email

  on January 13, 2017 in a good faith effort to resolve the issues raised in this motion but the parties

  were unable to do so.

                                                  By: /s/ Hilton Napoleon, II
                                                          Hilton Napoleon, II



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 13, 2017, I have filed the foregoing document with

  the Clerk of the Court using the CM/ECF system. I also certify that the foregoing document is

  being served this day on all counsel and parties of record on the attached Service List in the manner

  specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in some

  other authorized manner for those parties who are not authorized to receive electronically Notices

  of Electronic Filing.

                                                  By: /s/ Hilton Napoleon, II
                                                          Hilton Napoleon, II




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